898 F.2d 145Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Calvin FORD, Plaintiff-Appellant,v.CENTRAL TOWING SERVICE, Defendant-Appellee.
    No. 89-1746.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Nov. 30, 1989.Decided:  Feb. 20, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  Robert R. Merhige, Jr., Senior District Judge.  (C/A No. 89-260-R)
      Calvin Ford, appellant pro se.
      E.D.Va.
      AFFIRMED.
      Before WILKINS, Circuit Judge, and HARRISON L. WINTER and BUTZNER, Senior Circuit Judges.
      PER CURIAM:
    
    
      1
      Calvin Ford appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.*   Accordingly, we affirm on the reasoning of the district court.  Ford v. Central Towing Service, CA-89-260-R (E.D.Va. May 1, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    
      
        *
         To the extent that Ford feels he has been deprived of property by the defendant his remedy lies in state court
      
    
    